  Case 1:20-cv-00055-RGA Document 6 Filed 02/05/20 Page 1 of 2 PageID #: 65




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS, LLC,                  )
                                             )
                       Plaintiff,            )
                                             )   C.A. No. 1:20-cv-00055-RGA
       v.                                    )
                                             )
ISAGENIX WORLDWIDE, INC.,                    )
                                             )
                       Defendant.            )
                                             )
                                             )



  PLAINTIFF’S NOTICE OF DISMISSAL WITHOUT PREJUDICE OF DEFENDANT
                      ISAGENIX WORLDWIDE, INC.

       Plaintiff Symbology Innovations, LLC, pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure, hereby provides notice that it dismisses WITHOUT prejudice all

claims by Plaintiff against Defendant Isagenix Worldwide, Inc. Each party shall bear its own

costs, expenses, and attorneys’ fees.


Dated: February 5, 2020                             Respectfully submitted,

                                                 /s/Stamatios Stamoulis_________________________
                                                 Stamatios Stamoulis (#4606)
                                                 Stamoulis & Weinblatt LLC
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                                                 Attorney(s) for Plaintiff Symbology
                                                 Innovations, LLC



                                     1
              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
  Case 1:20-cv-00055-RGA Document 6 Filed 02/05/20 Page 2 of 2 PageID #: 66




                               CERTIFICATE OF SERVICE

       I hereby certify that on February 5, 2020, I electronically filed the above documents with

the Clerk of Court using CM/ECF which will send electronic notification of such filings to all

registered counsel.



                                                    /s/Stamatios Stamoulis
                                                    Stamatios Stamoulis (#4606)




                                     2
              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
